     Case 3:21-mj-06014-DEA Document 20 Filed 06/24/22 Page 1 of 2 PageID: 87




                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA,
                                                     Mag. No. 21-6014 (DEA)
v.

FORD GRAHAM


                    CONSENT ORDER FOR MODIFICATION OF BAIL

        THIS MATTER having come before the Court on the application of defendant, FORD

GRAHAM, appearing by SCHWARTZ, HANNA, OLSEN, & TAUS P.C. (CHRISTOPHER

OLSEN, ESQ. on the motion), for an Order modifying conditions of release in the above-

captioned matter, and the UNITED STATES OF AMERICA, appearing by ASSISTANT

UNITED STATES ATTORNEYS J. BRENDAN DAY, ESQ., and MARTHA K. NYE, ESQ.,

having consented thereto, and

        WHEREAS an order permitting release on bail with certain conditions was entered by the

Court (Docket Nos. 8, 11) on April 14-15, 2021; and

        WHEREAS the Defendant, the United States and Pretrial Services have agreed to a

modification of the conditions of release set out in that Order;

        IT IS on this 24thday of June, 2022, HEREBY ORDERED that the bail conditions for

Defendant FORD GRAHAM are modified only to the following extent:

     1. That Ford Graham be permitted to travel to the Southern District of New York for the

        purpose of exercising his rights to meet and confer with his retained co-counsel at

        Kasowitz Benson Torres LLP, 1633 Broadway, New York, NY (tel.: 212-506-1700). At

        least 48 hours in advance of any such planned travel, Mr. Graham shall provide to
Case 3:21-mj-06014-DEA Document 20 Filed 06/24/22 Page 2 of 2 PageID: 88
